Case 3:21-cv-00391-X Document6 Filed 12/18/20 Pagelof1 PagelD 36

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Central District of California a |

Jack Toro, an Individual: and
Earthquake Ere, an Individual

Plaintiffis)
Vv

; Civil Action No, 2:20-cv-11354-DDP-JPR
Regus Management Group, LLC, et al.

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Defendant(s) “t

SUMMONS IN A CIVIL ACTION

REGUS MANAGEMENT GROUP, LLC
2710 Gateway Oaks Dr., Suite 150 N
Sacramento, CA 95833

To: (Defendant's name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Law Offices of Theida Salazar

Theida Salazar, Esq.
2140 North Hollywood Way, #7192
Burbank, CA 91510

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:
Signature of Clerk or Deputy Clerk
